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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                                             )
IN RE PHARMACEUTICAL INDUSTRY )
AVERAGE WHOLESALE PRICE                      )   MDL NO. 1456
LITIGATION                                   )
                                             )   MASTER CASE NO. 01- cv-12257-PBS
                                             )
THIS DOCUMENT RELATES TO:                    )   SUB-CATEGORY CASE: 1:09-cv-12056
                                             )
State of Mississippi v. Forest Laboratories, )
Inc. and Forest Pharmaceuticals, Inc.,       )
No. 09-cv-12065                              )
                                             )
                                             )


                        CERTIFICATE OF W. PATRICK DOWNES


       I, W. Patrick Downes, hereby depose and state as follows:

       1.      I am associated with the law firm of Dornbush, Schaeffer, Strongin & Venaglia,

LLP, which is located at 747 Third Avenue, New York, New York 10017.

       2.      I am a member of and have been in good standing with the Bar of the State of

New York since 2004.

       3.      I represent Forest Laboratories, Inc. and Forest Pharmaceuticals, Inc. in this and

other matters, and have thorough knowledge of the issues presented in this case.

       4.      In addition to the courts of the State of New York, I am also admitted to practice

before the United States District Court for the Southern District of New York.

       5.      There are no disciplinary proceedings pending against me in any jurisdiction and I

am in good standing in all jurisdictions in which I am admitted to practice.

       6.      I am familiar with the Local Rules of the United States District Court for the

District of Massachusetts.
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Signed under the pains and penalties of perjury this 8th day of June, 2011.



                                      /s/ W. Patrick Downes
                                      W. Patrick Downes




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